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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

LISA MAXTON, and JON MAXTON
Plaintiffs, Cause No.: 3:20-cv-327

Vv.

NOVARTIS PHARMACEUTICALS
CORPORATION,

Defendant.

PLAINTIFFS’ SECOND AMENDED COMPLAINT
COMES NOW Plaintiffs, LISA MAXTON and JON MAXTON, by and through their

attorneys, Freeark, Harvey & Mendillo, P.C., and as for their Complaint and Jury
Demand against the Defendant, NOVARTIS PHARMACEUTICALS CORPORATION,
states as follows:

NATURE OF THE ACTION

1. Plaintiffs seek compensatory damages, monetary restitution and all other
available remedies as a result of injuries caused by Defendant's defective
pharmaceutical product. Plaintiffs make the following allegations based upon their
personal knowledge and upon information and belief, as well as upon their attorneys’
investigative efforts to date, regarding Defendant's prescription drug Diovan HCT.

2, Plaintiffs do not relinquish the right to move to amend their claim to seek
any additional claims as discovery proceeds and facts and other circumstances may
warrant.

3. As more particularly set forth herein, Plaintiffs maintain that Diovan HCT is

defective in design, dangerous to human health, unfit and unsuitable to be advertised,
Exhibit “A”
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marked and sold in the United States, and lacks proper warnings associated with its

use.

4. Diovan HCT is used in the treatment of hypertension and blood pressure
control.
PARTIES, JURISDICTION & VENUE
5. This Court has personal jurisdiction over Defendant pursuant to, and
consistent with, Illinois’ long-arm statute (735 ILCS 5/2-209) and the Constitutional
requirements of Due Process in that Defendant, acting through agents or apparent
agents, committed one or more of the following:
a. Defendant transacted business in the State of Illinois, 735 ILCS
5/2-209(a)(1);
b. Defendant made or performed a contract or promise substantially
connected within Illinois, 735 ILCS 5/2-209(a)(7);
Cc. Defendant does business in and within Illinois, 735 ILCS 5/2-
209(b)(4); and
d. Requiring Defendant to litigate this claim in Illinois does not offend
traditional notions of fair play and substantial justice and is
permitted by the United States Constitution.
6. Defendant marketed, promoted and sold Diovan HCT in this State and in
St. Clair County in particular. Accordingly, venue is appropriate in this Court.

7. Plaintiffs allege an amount in controversy in excess of the minimal

jurisdictional limits of this Court.
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PLAINTIFFS
8. Plaintiffs Lisa Maxton and Jon Maxton are natural persons and citizens of
St. Clair County, Illinois.
DEFENDANT
9. Novartis Pharmaceuticals Corporation is, and at all times relevant to this

action, has been a Delaware corporation having a place of business at One Health
Plaza, East Hanover, New Jersey 07936. Novartis Pharmaceuticals is registered to do
business in Illinois and has designated a registered agent in Illinois.

10. As part of their business and at all relevant times, Defendant has been
involved in the design, research, manufacture, testing, advertisement, promotion,
marketing, sale, and distribution of Diovan HCT.

11. Defendant has been the holder of approved NDA 020818 for Diovan HCT.

12. Defendant manufactures and markets Diovan HCT in the United States.

13. Defendants has transacted and conducted business related to Diovan
HCT in each of the States and Territories of the United States.

14. Defendant has derived substantial revenue from Diovan HCT in each of
the States and Territories of the United States.

15. Defendant has expected or should have expected its acts to have
consequences within each of the States and Territories of the United States, and
derived substantial revenue from interstate commerce in each of the States and
Territories of the United States related to Diovan HCT.

FACTUAL ALLEGATIONS
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A. General Background: Diovan HCT

16. Defendant's Diovan HCT is a combination of valsartan, an angiotensin II
receptor blocker (hereinafter “ARBs”) used to treat high blood pressure and heart
failure, and hydrochlorothiazide, a diuretic.

17. — In January of 2016 Plaintiff Lisa Maxton was prescribed Diovan HCT

80/12.5mg for the treatment of hypertension.

18. Plaintiff Lisa Maxton received her prescription for Diovan HCT from BUC

Employee Pharmacy.

19. In September of 2017 Plaintiff Lisa Maxton was ordered by her physician
to stop her Diovan HCT 80/12.5mg medication.

20. On March 6, 2018, Plaintiff Lisa Maxton was assessed to have cirrhosis of
liver with ascites. On this date she was also informed to avoid hepatotoxic drugs.
B. Diovan HCT Causes Severe Liver Injuries

21. The National Institutes of Health (hereinafter “NIH”) cholestasis can
develop with use of valsartan therapy. See
https:/Awww.ncbi.nim.nih.gov/books/NBK547944/#Valsartan. OVERVIEW.

22. Cholestasis can occur before the development of cirrhosis. See
https:/Awww.cghjournal.org/article/S 1542-3565(07)00530-7/pdf.

ESTOPPEL FROM PLEADING AND TOLLING OF
APPLICABLE STATUTES OF LIMITATIONS
23. Plaintiffs incorporate by reference each preceding and succeeding

paragraph as though set forth fully at length herein. Plaintiffs plead all Counts of this
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Complaint in the broadest sense, pursuant to all laws that may apply according to
choice of law principles, including the law of Illinois.

24. ‘Plaintiffs assert all applicable state statutory and common law rights and
theories related to the tolling or extension of any applicable statute of limitations,
including but not limited to equitable tolling, delayed discovery, discovery rule and
fraudulent concealment.

25. Plaintiffs plead that the discovery rule should be applied to toll the running
of the statute of limitations until Plaintiffs knew, or through the exercise of reasonable
care and diligence should have known, of facts indicating that Plaintiffs had been
injured, the cause of the injury and the tortious nature of the wrongdoing that caused the
injury.

26. Despite diligent investigation by Plaintiffs into the cause of their injuries,
the nature of Plaintiffs’ injuries and damages and their relationship to Diovan HCT was
not discovered, and through reasonable care and due diligence could not have been
discovered, until a date within the applicable statute of limitations for filing Plaintiffs’
claims. Therefore, under appropriate application of the discovery rule, Plaintiffs’ suit was
filed well within the applicable statutory limitations period.

27. The running of the statute of limitations in this case is tolled due to
equitable tolling. Defendants are estopped from asserting a statute of limitations
defense due to Defendant's fraudulent concealment, through affirmative
misrepresentations and omissions, from Plaintiffs and/or the consuming public of the

true risks associated with Diovan HCT. As a result of the Defendant's fraudulent
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concealment, Plaintiffs and/or Plaintiffs’ physicians were unaware, and could not have
known or have learned through reasonable diligence, that Plaintiffs had been exposed
to the risks alleged herein and that those risks were the direct and proximate result of
the wrongful acts and omissions of the Defendant.

28. Furthermore, the Defendant is estopped from relying on any statute of
limitations because of its concealment of the truth, quality and nature of Diovan HCT.
The Defendant was under a duty to disclose the true character, quality and nature of
Diovan HCT because this was nonpublic information over which the Defendant had and
continue to have exclusive control, and because the Defendant knew that this
information was not available to Plaintiffs, their medical providers and/or to their health
facilities.

29. Defendant had the ability to and did spend enormous amounts of money
in furtherance of its purpose of marketing and promoting a profitable drug,
notwithstanding the known or reasonably known risks. Plaintiffs and/or medical
professionals could not have afforded and could not have possibly conducted studies to
determine the nature, extent and identity of related health risks and, instead, were
forced to rely on Defendant’s representations.

30. Defendant was and continues to be in possession of information and data
that shows the risk and dangers of these products that is not otherwise in the
possession or available to Plaintiffs and/or their healthcare providers.

31. At the time of Plaintiffs’ injuries, Plaintiffs and/or Plaintiffs’ healthcare

providers were not aware of any facts which would have made a reasonably prudent
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person suspicious of Defendant's wrongdoing because Plaintiffs and Plaintiffs’
healthcare providers reasonably relied on Defendant’s representations that Diovan HCT
does not cause liver injury.

32. At no time prior to Plaintiffs’ eventual discovery of wrongdoing did any of
Plaintiffs’ doctors ever inform, advise, suggest or otherwise imply that Plaintiffs’ Diovan
HCT use was a potential contributing cause of Plaintiffs’ liver injuries.

_33. Plaintiffs reasonably relied on the skill and judgment of Plaintiffs’ doctors
and had no reason to further investigate, inquire into or suspect that Diovan HCT
caused Plaintiffs’ conditions.

34. Plaintiffs exercised reasonable diligence to discover the cause of Plaintiff
Lisa Maxton’s liver injuries. Plaintiffs relied on their physicians to advise them of any
complications. Plaintiffs had no reason to believe Plaintiff Lisa Maxton’s injuries were
the result of any wrongdoing, whether intentional and/or negligent, until the discovery
dates suggested below and are therefore relying on the benefit of the discovery rule.

35. Plaintiffs had neither knowledge nor reason to suspect that Defendant was
engaged in the wrongdoing alleged herein. Because of the fraudulent acts of
concealment and wrongdoing by the Defendant, Plaintiffs could not have reasonably
discovered the wrongdoing at the time of their injury.

36. At the time of Plaintiffs’ injuries, Plaintiffs did not have access to or receive
any studies or information recognizing the increased risk of liver injuries with Diovan

HCT,

37. Plaintiffs did not have any discussions with their doctors that there was an
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association between her liver injures and Diovan HCT use.
CAUSE OF ACTION
COUNT |
STRICT PRODUCT LIABILITY

38. Plaintiffs incorporates by reference each preceding and succeeding
paragraph as though set forth fully at length herein. Plaintiffs pleads all Counts of this
Complaint in the broadest sense, pursuant to all laws that may apply according to
choice of law principles, including the law of Illinois.

39. At the time of Plaintiffs’ injuries, the Diovan HCT manufactured by the
Defendant was defective and unreasonably dangerous to foreseeable consumers,
including Plaintiff Lisa Maxton.

40. At the time of Plaintiffs’ injuries, Defendant placed Diovan HCT into the
stream of commerce that was defective and in an unreasonably dangerous condition to
foreseeable users, including Plaintiff Lisa Maxton.

41. Atall times herein mentioned, Defendant has designed, researched,
manufactured, tested, advertised, promoted, marketed, sold and distributed Diovan
HCT as described herein that was used by Plaintiff Lisa Maxton.

42. Defendant's Diovan HCT was expected to and did reach consumers,
handlers and persons coming into contact with said products without substantial change
in the condition in which they were produced, manufactured, sold, distributed and

marketed by the Defendant.

43. Defendant's Diovan HCT was manufactured in an unsafe, defective and
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inherently dangerous condition, which was dangerous to users, including Plaintiff Lisa
Maxton.

44. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant were defective in
design or formulation in that, when they left the hands of the manufacturers and/or
suppliers, the foreseeable risks exceeded the benefits associated with the design or
formulation of Diovan HCT.

45. Atall times herein mentioned, Diovan HCT was in a defective condition
and unsafe, and Defendant knew or had reason to know that Diovan HCT was defective
and unsafe, including when used in the formulation and manner recommended by the
Defendant.

46. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant were defective in
design and/or formulation, in that, when they left the hands of the Defendant,
manufacturers and/or suppliers, the Diovan HCT products were unreasonably
dangerous, and were more dangerous than an ordinary consumer would expect, and
more dangerous than other medications on the market designed to treat hypertension
and blood pressure.

47. Defendant knew or should have known that at all times herein mentioned
Diovan HCT was in a defective condition and was inherently dangerous and unsafe.

48. At the time Plaintiff Lisa Maxton used Defendant’s Diovan HCT products,

the Diovan HCT products were being used for the purposes and in a manner normally
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intended and foreseeable, namely to treat hypertension and blood pressure control.

49. Defendant, with this knowledge, voluntarily designed Diovan HCT ina
dangerous condition for use by the public and Plaintiff Lisa Maxton.

90. Defendant had a duty to create a product that was not unreasonably
dangerous for its normal, intended and foreseeable use.

51. Defendant created a product unreasonably dangerous for its intended and
foreseeable use.

52. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant were manufactured
defectively in that Diovan HCT products left the hands of Defendant in a defective
condition and were unreasonably dangerous to its intended users.

03. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant reached their
intended users in the same defective and unreasonably dangerous condition in which
they were manufactured.

54. Defendant designed, researched, manufactured, tested, advertised,
promoted, marketed, sold and distributed a defective product which created an
unreasonable risk to the health of consumers, and Defendant is therefore strictly liable
for the injuries sustained by Plaintiff Lisa Maxton.

55. Plaintiffs could not, by the exercise of reasonable care, have discovered
the Diovan HCT defects herein mentioned and perceived their danger.

96. The Diovan HCT products designed, researched, manufactured, tested,

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advertised, promoted, marketed, sold and distributed by Defendant were defective due
to inadequate warnings or instructions, as the Defendant knew or should have known
that the Diovan HCT products created a risk of serious and dangerous side effects,
including liver injuries and other severe and personal injuries which are permanent and
lasting in nature, and the Defendant failed to adequately warn of said risk.

9/7. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant were defective due
to inadequate warnings and/or inadequate testing.

58. The Diovan HCT products designed, researched, manufactured, tested,
advertised, promoted, marketed, sold and distributed by Defendant were defective due
to inadequate postmarketing surveillance and/or warnings because, even after
Defendant knew or should have known of the risks and severe and permanent health
consequences from ingesting Diovan HCT, they failed to provide adequate warnings to
users or consumers of the product, and continued to improperly advertise, market
and/or promote Diovan HCT.

99. The Diovan HCT ingested by Plaintiff Lisa Maxton was in the same or
substantially similar condition as it was when it left the possession of Defendant.

60. Plaintiff Lisa Maxton did not misuse or materially alter the Diovan HCT
product.

61. Defendant is strictly liable for Plaintiffs’ injuries in the following ways:

a. The Diovan HCT products as designed, manufactured, sold and

supplied by the Defendant were defectively designed and placed

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into the stream of commerce by Defendant in a defective and
unreasonably dangerous condition;

b. Defendant failed to properly market, design, manufacture,
distribute, supply and sell Diovan HCT;

C. Defendant failed to warn and place adequate warnings and
instructions on Diovan HCT:

d. Defendant failed to adequately test its Diovan HCT products;

e. Defendant failed to provide timely and adequate postmarketing
warnings and instructions after it knew of the risk of injury
associated with the use of Diovan HCT; and

f. Feasible alternative designs existed that were capable of treating
Plaintiff Lisa Maxton’s conditions, while decreasing the risk of liver
injuries.

62. By reason of the foregoing, Defendant is strictly liable in tort to Plaintiffs
for the manufacturing, marketing, promoting, distribution, and selling of a defective
Diovan HCT product.

63. Defendant's defective design, manufacturing defect and inadequate
warnings on the Diovan HCT products were acts that amount to willful, wanton and/or
reckless conduct by Defendant.

64. These defects in Defendant's Diovan HCT were a substantial factor in
causing Plaintiffs’ injuries.

65. Asaresult of the foregoing acts and omissions, Plaintiffs were caused to

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suffer serious and dangerous side effects, including serious liver injuries and other
severe and personal injuries which are permanent and lasting in nature, physical pain
and mental anguish, diminished enjoyment of life and financial expenses for
hospitalization and medical care.

66. Defendant's conduct, as described herein, was extreme and outrageous.
Defendant risked the lives of the consumers and users of its product, including Plaintiff
Lisa Maxton, with knowledge of the safety and efficacy problems with Diovan HCT and
suppressed this knowledge from the general public, Plaintiffs, and/or Plaintiffs’
healthcare providers. Defendant made conscious decisions not to redesign, re-label,
warn or inform the unsuspecting consuming public. Defendant’s outrageous conduct
warrants an award of punitive damages.

WHEREFORE, Plaintiffs demands judgment against Defendant for
compensatory, treble and punitive damages, together with interest, costs of suit,
attorneys’ fees and all other such relief as this Court deems proper.

COUNT Il
NEGLIGENCE

67. Plaintiffs incorporate by reference each preceding and succeeding
paragraph as though fully set forth at length herein. Plaintiffs plead all Counts of this
Complaint in the broadest sense, pursuant to all laws that may apply according to
choice of law principles, including the law of Illinois.

68. Defendant had a duty to exercise reasonable care in designing,

researching, manufacturing, marketing, supplying, promoting, packaging, selling and/or

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distributing Diovan HCT into the stream of commerce, including a duty to assure that
Diovan HCT would not cause users to suffer unreasonable, dangerous side effects.

69. Defendant failed to exercise ordinary care in the design, research,
manufacture, labeling, warnings, marketing, promotion, quality assurance, quality
control, sale and/or distribution of Diovan HCT in that Defendant knew or should have
known that the drugs could proximately cause Plaintiffs’ injuries and/or presented an
unreasonably high risk of injury.

70. Defendant, acting by and through its authorized divisions, subsidiaries,
agents, servants and/or employees, acted with carelessness, recklessness, negligence,
gross negligence and/or willful, wanton, outrageous and reckless disregard for human
life and safety in manufacturing, designing, labeling, marketing, distributing, supplying,
selling and/or placing into the stream of commerce Diovan HCT, including but not
limited to the following particular respects:

a. Failing to use due care in design and/or manufacture of Diovan
HCT as to avoid the aforementioned risks to individuals;

b. Failing to conduct adequate testing, including pre-clinical and
clinical testing and postmarketing surveillance to determine the
safety of Diovan HCT.

Cc. Failing to use reasonable and prudent care so as to conduct
sufficient postmarketing pharmacovigilance and

pharmacosurveillance;

d. Failing to recognize the significance of their own and other testing,

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and information regarding Diovan HCT, which testing and
information evidenced such products are dangerous and potentially
harmful to humans:

e. Failing to respond promptly and appropriately to its own and other
testing, and information regarding Diovan HCT, and failing to
promptly and adequately warn of the potential for liver injuries when
using Diovan HCT.

r. Failing to promptly, adequately and appropriately recommend
testing and monitoring of patients upon whom Diovan HCT was
used in light of Diovan HCT’s dangers and potential harm to
humans;

g. Failing to properly, appropriately and adequately monitor the post-
market performance of Diovan HCT and such effects on patients;

h. Aggressively promoting, marketing, advertising and/or selling
Diovan HCT given its knowledge and experience of Diovan HCT’s
potential harmful effects;

i, Failing to use reasonable and prudent care in its statements of the
efficacy, safety, and risks of using Diovan HCT, which were
knowingly false and misleading, in order to influence patients, such
as Plaintiff Lisa Maxton, to use Diovan HCT in excess and/or in
preference to safer and effective alternative treatments;

js Failing to accompany Diovan HCT with proper and/or accurate

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warnings regarding all possible adverse side effects and risk of liver
injury associated with the use of Diovan HCT;

k. Failing to disclose to Plaintiffs and/or the medical community its full
knowledge and experience regarding the potential dangers and
harm associated with use of Diovan HCT;

I. Failing to warn Plaintiffs and/or Plaintiffs’ healthcare providers of
the severity and duration of such adverse side effects;

m. Failing to warn Plaintiffs and/or Plaintiffs’ healthcare providers prior
to actively encouraging the sale of Diovan HCT, either directly or
indirectly, orally or in writing, about the increased risk of liver injury;

oO. Placing and/or permitting the placement of Diovan HCT into the
stream of commerce without adequate warnings that it is harmful to
humans and/or without properly warning of said product's
dangerousness;

p. Failing to withdraw Diovan HCT from the market and stream of
commerce, or restrict its use and/or warn of such product's
potential dangers, given its knowledge of the dangers and harms
associated with use of Diovan HCT:

q. Failing to respond or react promptly and appropriately to reports of
Diovan HCT causing harm to patients’

r. Disregarding government and/or industry studies, information,

documentation and recommendations, consumer complaints and

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reports and/or other information regarding the hazards of Diovan
HCT and its potential harm to humans;

Ss. Under-reporting, underestimating and/or downplaying the serious
dangers of Diovan HCT-:

t. Failing to exercise reasonable care in informing physicians and
healthcare providers using Diovan HCT about its own knowledge
regarding the potential dangers and harm associated with use of
Diovan HCT;

u. Failing to adequately warn Plaintiffs and/or Plaintiffs’ healthcare
providers of the known or reasonably foreseeable danger that
Plaintiff Lisa Maxton would suffer serious injury by ingesting
Defendants’ Diovan HCT;

Vv. Promoting Diovan HCT in advertisements, websites and other
modes of communication aimed at creating and/or increasing user
and consumer demand without regard to the dangers and risks
associated using Diovan HCT;

W. Failing to conduct and/or respond to postmarketing surveillance of
complications and injuries associated with Diovan HCT;

Xx. Failing to use due care under the circumstances;

y. Other such acts or omissions constituting negligence and

carelessness as may appear during the course of discovery or at

the trial of this matter.

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71. Despite the fact that Defendant knew or should have known that Diovan
HCT caused unreasonable, dangerous risk of liver injury, Defendant continued to
market Diovan HCT to consumers, including the medical community and Plaintiffs.

72. Defendant knew or should have known that consumers such as Plaintiff
Lisa Maxton would foreseeably suffer injury as a result of Defendant's failure to exercise
ordinary care as described herein, including the failure to comply with federal
requirements.

73. — It was foreseeable to Defendant that Diovan HCT, as designed and
marketed, would cause serious injury to consumers, including Plaintiff Lisa Maxton.

74. Despite the fact that Defendant knew or should have known that Diovan
HCT caused unreasonable risks of harm when used as intended by the Defendant, the
Defendant continued to advertise, market and sell Diovan HCT to patients, including
Plaintiffs and healthcare providers.

75. Asa direct and proximate result of Defendant’s negligence, Plaintiffs
suffered serious physical injury, damages and economic loss and will continue to suffer
such harm, damages and economic loss in the future.

76. Defendant knowingly and intentionally defectively designed and provided
inadequate warnings related to the design of Diovan HCT in willful, wanton and reckless
disregard for the safety and well-being of all patients and consumers, including
Plaintiffs, for the purpose of achieving profits and market share over safety.

77. Defendant acted in reckless disregard to public safety and well-being,

including Plaintiffs’ safety and well-being, and with actual knowledge that Diovan HCT

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was unsafe for its recommended use for the treatment of hypertension and blood
pressure control.

78. Defendant made conscious decisions not to redesign, re-label, warn or
inform the unsuspecting consuming public, including Plaintiffs and/or Plaintiffs’
healthcare providers concerning the dangers of Diovan HCT, and consciously decided
to aggressively market and sell Diovan HCT, putting economic, financial and market
share advantage over safety and efficacy considerations.

79. As aresult of the foregoing acts and omissions, Plaintiffs were caused to
suffer serious and dangerous side effects, including serious liver injuries, which are
permanent and lasting in nature, physical pain and mental anguish, diminished
enjoyment of life and financial expenses for medical care.

80. Defendant's conduct, as described herein, was extreme and outrageous.
Defendant risked the lives of the consumers and users of its product, including Plaintiff
Lisa Maxton, with knowledge of the safety and efficacy problems with their drugs and
suppressed this knowledge from the general public, Plaintiffs and/or Plaintiffs’
healthcare providers. Defendant made conscious decisions not to redesign, re-label,
warn or inform the unsuspecting consuming public. Defendant's outrageous conduct
warrants an award of punitive damages.

WHEREFORE, Plaintiffs demand judgment against Defendant for compensatory,
treble and punitive damages, together with interest, costs of suit, attorneys’ fees and all

other such relief as this Court deems proper.

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COUNT III
LOSS OF CONSORTIUM

81. Plaintiffs incorporate by reference each proceeding and succeeding
paragraph as though set forth fully at length herein. Plaintiffs plead all Counts of this
Complaint in the broadest sense, pursuant to all laws that may apply according to
choice of law principles, including the law of Illinois.

82. _ Plaintiff Jon Maxton was at all times relevant hereto the spouse of Plaintiff
Lisa Maxton and as such lives and cohabits with Plaintiff Lisa Maxton.

83. For the reasons set forth herein, Plaintiffs have necessarily paid and have
become liable to pay for medical aid, treatment and for medications, and will necessarily
incur further expenses of a similar nature in the future.

84. For the reasons set forth herein, Plaintiff Jon Maxton has been caused,
presently and in the future, to suffer the loss of his spouse’s companionship, services,
society, and ability of Plaintiff Jon Maxton’s spouse has in those respects has been
impaired and depreciated, and the martial association between husband and wife has
been altered, and, accordingly, the Plaintiffs have been caused great mental anguish.

85. Defendant misled both the medical community and the public at large,
including Plaintiffs, by making false misrepresentations about the safety of Diovan HCT.
Defendant downplayed, understated and disregarded their knowledge of the serious
and permanent injuries associated with Diovan HCT use despite available information
demonstrating that the product was likely to cause serious side-effects to its users.

86. Defendant was or should have been in possession of evidence

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demonstrating that its products caused serious side effects. Nevertheless, it continued
to market the products by providing false and misleading information with regard to the
safety and efficacy of Diovan HCT.

87. Defendant's actions, as described herein, were performed willfully,
intentionally and with reckless disregard for the rights of the Plaintiffs and the public.

88. As aresult of the foregoing acts and omissions, Plaintiff Jon Maxton’s
spouse was caused to suffer serious and dangerous side effects, including serious liver
injuries and other severe and personal injuries which are permanent and lasting in
nature, physical pain and mental anguish, diminished enjoyment of life and financial
expenses for hospitalization and medical care.

89. Defendant's conduct, as described herein, was extreme and outrageous.
Defendant risked the lives of the consumers and users of its products, including Plaintiff
Lisa Maxton, with knowledge of the safety and efficacy problems with Diovan HCT and
suppressed this knowledge from the general public, Plaintiffs and/or Plaintiffs’
healthcare providers. Defendant made conscious decisions not to redesign, re-label,

warn or inform the unsuspecting consuming public. Defendant’s outrageous conduct

warrants an award of punitive damages.

WHEREFORE, Plaintiffs demands judgment against Defendant for
compensatory, treble and punitive damages, together with interest, costs of suit,
attorneys’ fees and all other such relief as this Court deems proper.

PRESERVATION CLAIMS

90. Plaintiffs incorporate by reference each and every paragraph of this

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Complaint as if fully set forth herein and further allege as follows:

91. Many states have recently enacted tort reform statutes with “exclusive
remedy” provisions. Courts have yet to determine whether these exclusive remedy
provisions eliminate or supersede, to any extent, state common law claims. If during the
pendency of this action this court makes any such determination, Plaintiffs hereby
specifically make claim to and preserve any State claim based upon any exclusive
remedy provision, under any state law this court may apply, to the extent not already
alleged above.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand judgment against Defendant on each of the
above-referenced claims and causes of action, jointly and severally, as follows:

a. Awarding compensatory damages in excess of $75,000, including but not
limited to pain, suffering, discomfort, physical impairment, emotional
distress, loss of enjoyment of life, loss of consortium and other
noneconomic damages in an amount to be determined at trial of this
action;

b. Awarding economic damages in the form of medical expenses, out of
pocket expenses, lost earnings and other economic damages in an
amount to be determined at trial of this action;

C. Punitive and/or exemplary damages for the wanton, willful, fraudulent,
reckless acts of the Defendant who demonstrated a complete disregard

and reckless indifference for the safety and welfare of the general public

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and Plaintiffs in an amount sufficient to punish Defendant and deter future

similar conduct;

d. Prejudgment interest;

e. Post-judgment interest;

f. Awarding reasonable attorneys’ fees:

g. Awarding the costs of these proceedings;

h. Such other and further relief as this Court deems just and proper.

JURY DEMAND

TAKE NOTICE that Plaintiffs demand trial by jury as to all issues herein.

FREEARK, HARVEY & MENDILLO, P.C.

BY:  /s/Michael P. Murphy
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ATTORNEY FOR PLAINTIFFS

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Case 3:20-cv-00327-RJD Document 14-1 Filed 05/08/20 Page 24 of 24 Page ID #212

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

LISA MAXTON, and JON MAXTON
Plaintiffs, Cause No.: 3:20-cv-327

Vv.

NOVARTIS PHARMACEUTICALS
CORPORATION,

Defendant.

AFFIDAVIT
COMES NOW Michael P. Murphy, being duly sworn upon his oath, and states to
the Court as follows:
Li That | am the attorney of record for the Plaintiffs, LISA MAXTON and JON
MAXTON, and it is my belief that Plaintiffs’ damages are in excess of $75,000.00,

based upon my investigation to date.

FURTHER AFFIANT SAYETH NOT. VA Wh 4

MICHAEL P. MURPHY

 

SUBSCRIBED AND SWORN TO before me this "2 day of May, 2020.

 

 

 

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MY COMMISSION EXPIRES AUG. 11, 2023 | Notary Public

 

 

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